         Case 1:18-cv-00134-BKS-ATB                       Document 7-2           Filed 02/05/18   Page 1 of 1

                                                 United States District Court
                                                Northern District of New York

                            NEW ATTORNEY E-FILING REGISTRATION FORM

   Enter your full name, as it will appear on your official Admission Certificate. Select your method of
       admission and enter the required information. Complete and sign the Oath on Admission.

                                                                                                      OSr.      0 Jr.
NAME: John                          on     D.                          Ohlendorf                                om
          -------------------------
            First  Middle Last


 0 ADMISSION                !\ee LR. IIJ.l(b)
   Applicants who not admitted to practice in the Federal Courts of New York.

 0 RECIPROCAL     ADMISSION                        ~ec L.R. 83.l(c)
   A member in good standing ofthe bar ofthe U.S. District Court for the Eastern, Western or Southern
         District of New y ork. [DECLARATION OF SPONSOR NOT REQUIRED]

         PRO HAC VICE ADMISSION sec ut 83.l(d)
         Motion for Limited Admission Pro Hae Vice in                                      18-cv-134-BKS-ATB
         Applicant required to file a Pro Hae Vice access request in PACER.                   (case number)

 0 FEDERALAttorney
            GOVERNMENT ATTORNEY sec                                   1..1t s.U(c)
                   appointed under 28 U.S.C. Section 541-543, or employed by the U.S.
               0
                        Government, who is admitted to practice in other Federal Districts
               0       Attorney in the employ of the United States Government who is !!.2! admitted
                        in other Federal Districts [CERTIFICATE OF GOOD STANDING REQUIRED]

 0 SPECIAL   GROUP ADMISSION CEREMONY [ORDER DECLARATION OF SPONSOR NOT REQUIRED]
   Admission at the Special Ceremony Scheduled on / / m                    , NY.
                                                                                 &



 0 ACCORDANCE
   BIENNIAL READMISSION TO THE NORTHERN DISTRICT OF NEW YORK IN
               WITH LOCAL RULE 83.l(a)S.



                                                      Oath on Admission

I,                John D. Ohlendorf               , do solemnly swear (or affirm) that as an attorney and
counselor of this Court, I will conduct myself uprightly and according to law and that I will support the
Constitution of the United States.


Dated:     2   /   2    / 201s
